Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 1 of 12

                                                                               Page 1




                                   1 of 67 DOCUMENTS

                 UNITED STATES OF AMERICA, Plaintiff-Appellee, v. CARL
                       WILLIAM PURSLEY, JR., Defendant-Appellant.

                                        No. 05-1428

                 UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT


                    2007 U.S. App. LEXIS 547; 99 A.F.T.R.2d (RIA) 419

                                January 11, 2007, Filed

   PRIOR HISTORY: [*1] APPEAL FROM THE         count of conspiracy to defraud the
   UNITED STATES DISTRICT COURT FOR THE        United States, in violation of 18
   DISTRICT   OF   COLORADO. (D.C.  NO.        U.S.C. § 371, and two counts of aiding
   03-CR-00415-REB).                           and abetting the preparation of false
                                               tax returns, [*2] in violation of 26
                                               U.S.C. § 7206(2).
   COUNSEL: Marci A. Gilligan, Richilano
   & Gilligan, P.C., Denver, Colorado,             On appeal, Pursley raises four
   (Patrick L. Ridley and Robert T.            claims challenging his conviction and
   Fishman, Ridley McGreevy Weisz P.C.,        sentence. The district court erred by
   Denver, Colorado, with her on the           (1) failing to dismiss the case due to
   brief) for Defendant-Appellant.             violations of the Interstate Agreement
                                               on Detainers Act; (2) refusing to
   James C. Murphy, Assistant United           sever his trial from that of a
   States Attorney (William J. Leone,          co-defendant; (3) allowing the jury
   United States Attorney, and Matthew T.      verdict to stand despite insufficient
   Kirsch,    Assistant   Untied   States      evidence to support the conspiracy
   Attorney, with him on the brief),           conviction        and,       relatedly,
   Office of the United States Attorney,       contributing to jury confusion by
   Denver,          Colorado,         for      improperly instructing them on the
   Plaintiff-Appellee.                         conspiracy count; and (4) violating
                                               the   Double   Jeopardy  Clause   while
   JUDGES: Before MURPHY, ANDERSON,      and   imposing   consecutive  sentences   for
   TYMKOVICH, Circuit Judges.                  different crimes that were supported
                                               by the same evidence.
   OPINION BY: TYMKOVICH
                                                  Taking jurisdiction pursuant to 18
                                               U.S.C. § 3742(a) and 28 U.S.C. § 1291,
   OPINION: TYMKOVICH, Circuit Judge.
                                               we AFFIRM.
      I. Introduction
                                                  II. Factual Background
      While jailed in a Colorado state
                                                   Carl Pursley and his co-defendant,
   prison,   Carl   William   Pursley   was
                                               William Wardell, were indicted by the
   indicted by the United States for tax
                                               United States on August 20, 2003, on
   fraud. The government alleged that
                                               various counts of tax fraud. Pursley
   Pursley filed fraudulent tax returns
                                               was     specifically   charged    with
   on   behalf   of   himself   and   other
                                               conspiring to defraud the Internal
   prisoners and received refund payments
                                               Revenue Service by assisting in the
   as a result. He was subsequently
                                               preparation of false tax returns for
   convicted by a federal jury on one
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 2 of 12

                                                                                 Page 2
                 2007 U.S. App. LEXIS 547, *2; 99 A.F.T.R.2d (RIA) 419



   the purpose of fraudulently obtaining        incarceration--60 months imprisonment
   refunds based on the Earned Income           on the conspiracy count to be served
   [*3] Credit. At the time the federal         consecutively with 36-month concurrent
   indictment was filed, Pursley and            sentences for each count of aiding and
   Wardell were prisoners of Colorado,          abetting.   He    appeals   both   his
   serving      sentences   on     prior        conviction and sentence.
   convictions.
                                                   III. Discussion
      To obtain his availability for
   trial, the United States lodged a               Pursley   raises  four   issues     on
   detainer against Pursley on August 21,       appeal. We address each in turn.
   2003, and obtained custody by filing a
   writ of habeas corpus ad prosequendum        A. Interstate Agreement on Detainers
   on   October   9,   2003.   Pursley    was
   transferred to another facility under           Pursley argues the United States
   federal control where he remained for        violated the Interstate Agreement on
   twenty-two months while he awaited           Detainers   (IAD  or    Agreement),   18
   trial on the tax fraud charges. During       U.S.C. App. § 2 [hereinafter IAD];
   that period, Colorado filed a new            Colo. Rev. Stat. § 24-60-501 (2004),
   indictment    against   Pursley    in   an   by transferring him from a state to
   unrelated criminal case. Accordingly,        federal prison and then allowing state
   Colorado sought his presence in state        officials [*5] to escort him to state
   court for preliminary proceedings. On        proceedings on new state charges while
   at least two occasions, the state            he    was     in    federal     custody.
   filed   writs   of   habeas    corpus   ad   Accordingly, he contends that the
   prosequendum     to   obtain     temporary   district court erred by failing to
   custody to escort Pursley to court.          dismiss the federal indictment and
   Each time, he was returned to federal        that we should reverse his conviction.
   prison the same day. At no time was
   Pursley    returned    to    a    Colorado      The    IAD   creates    among    its
   corrections facility to resume serving       contracting parties uniform procedures
   his initial state prison sentence.           for lodging and executing a detainer,
                                                "a legal order that requires a State
      On April 25, 2005, Pursley moved to       in which an individual is currently
   dismiss the federal indictment with          imprisoned to hold that individual . .
   prejudice on the ground that the             . so that he may be tried by a
   United   States    had    violated    the    different   State   for  a    different
   "anti-shuttling"    provision   of    the    crime." Alabama v. Bozeman, 533 U.S.
   Interstate     Agreement     [*4]      on    146, 148, 121 S. Ct. 2079, 150 L. Ed.
   Detainers Act in releasing him to the        2d 188 (2001). For purposes of the
   temporary custody of Colorado. The           IAD, the state in which a prisoner is
   district court denied his motion, and        initially   serving   a  sentence    is
   the case proceeded to trial. Before it       classified as the "sending state"
   began, Pursley moved to have his trial       (here, Colorado), and the state that
   severed from that of his co-defendant,       subsequently indicts the prisoner and
   alleging   that   they   would    present    obtains custody is the "receiving
   antagonistic defenses. The district          state" (here, the United States). n1
   court denied this motion as well.            IAD, Art. II(b)-(c). The Agreement
                                                "provides for expeditious delivery of
      On May 25, 2005, a federal jury           the prisoner to the receiving State
   convicted Pursley on one count of            for trial prior to the termination of
   conspiracy  to   defraud   the  United       his sentence in the sending State" and
   States and two counts of aiding and          "seeks to minimize the consequent
   abetting the preparation of false tax        interruption of the prisoner's ongoing
   returns. He was sentenced to 96 months       prison term." Bozeman, 533 U.S. at
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 3 of 12

                                                                                 Page 3
                  2007 U.S. App. LEXIS 547, *5; 99 A.F.T.R.2d (RIA) 419



   148. The Agreement [*6] is based on        who is serving a sentence in the
   the premise that prison treatment and      sending state and indicted by the
   rehabilitation programs are negatively     receiving state, is (1) transferred to
   impacted when a prisoner is indicted       the receiving state based on its
   and transferred to a new jurisdiction      lodging a detainer against him and
   and then returned to the original          requesting custody, id. at Art. IV(a),
   place of imprisonment before trial is      and then (2) returned to the "original
   had on the new charges. See IAD, Art.      place of imprisonment" before standing
   I. The Agreement authorizes transfer       trial on the untried indictment, id.
   of a prisoner from a sending state to      at Art IV(e).
   a receiving state as follows:

        The appropriate officer of                    n1   The  United   States   and
        the jurisdiction in which an               Colorado are party "States" to
        untried indictment . . . is                the Agreement. IAD § 2; Colo.
        pending [i.e., the receiving               Rev. Stat. § 24-60-501 (2006),
        state] shall be entitled to
        have a prisoner against whom
        he has lodged a detainer and             In this case, the first condition
        who is serving a term of              of an IAD violation was clearly met.
        imprisonment in any party             While serving his sentence in Colorado
        State   made    available    in       state prison, Pursley was indicted by
        accordance with article V(a)          the United States, which lodged a
        hereof upon presentation of           detainer against him and, by means of
        a    written     request    for       a    writ   of    habeas   corpus    ad
        temporary       custody      or       prosequendum [*8] , obtained custody
        availability        to      the       and transferred him to a federal
        appropriate authorities of            facility. See United States v. Mauro,
        the   State    in   which   the       436 U.S. 340, 348, 98 S. Ct. 1834, 56
        prisoner    is     incarcerated       L. Ed. 2d 329 (1978) (holding the
        [i.e, the sending state].             combination of lodging a detainer and
                                              obtaining custody by means of a writ
   Id. at Art. IV(a). The Agreement           of   habeas  corpus   ad   prosequendum
   protects the prisoner from excessive       triggers application of the IAD). n2
   transfers    through    the    so-called
   "anti-shuttling"     provision,    which           n2    The   government    contends
   states,                                         that because Colorado only filed
                                                   a   writ    of   habeas   corpus   ad
        If trial is not had on any                 prosequendum to obtain custody
        indictment        .       .     .          over Pursley from the federal
        contemplated hereby prior to               government,     the   IAD    is   not
        the      prisoner's         being          implicated.    While    the   Supreme
        returned    to    the    original          Court has held that a writ of
        place   of    imprisonment     to          habeas corpus ad prosequendum by
        [*7]   article V(e) hereof,                itself does not trigger the IAD,
        such indictment . . . shall                see Mauro, 436 U.S. at 349, the
        not be of any further force                IAD was already triggered by the
        or effect, and the court                   federal government's (i.e., the
        shall     enter      an     order          receiving    state's)    actions   in
        dismissing     the    same   with          this case and the anti-shuttling
        prejudice.                                 provision is thus applicable. The
                                                   government's argument would only
   Id. at Art. IV(e). Accordingly, by its          have relevance if the federal
   express terms, the IAD is violated              government was the sending state.
   under two conditions--when a prisoner,
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 4 of 12

                                                                                  Page 4
                 2007 U.S. App. LEXIS 547, *8; 99 A.F.T.R.2d (RIA) 419



                                              State, whether followed by a very
                                              brief stay or a very long stay in the
       The principal issue here is whether    receiving State, triggers IV(e)'s 'no
   the    second   condition  of    an  IAD   return'   requirement."    Id.    at   154
   violation     was    met.    The    [*9]   (emphasis   in   original).    In    other
   prosecution argues Pursley was never       words, Article IV(e)'s anti-shuttling
   "returned to the original place of         provision applies whenever a prisoner
   imprisonment" within the meaning of        is provided to a receiving state
   the IAD because he was never sent back     pursuant to a detainer. The length of
   to a Colorado prison. Pursley objects      the   prisoner's     custody    by     the
   to this literal reading of the text        receiving state has no bearing on the
   and argues that the anti-shuttling         operation    of    the    "no      return"
   provision be interpreted to include        requirement. Accordingly, the Court
   any type of custody over the prisoner      concluded, the Alabama charges should
   by the sending state.                      have been dismissed.

      Pursley argues that the Supreme            Pursley's attempt to compare his
   Court    in   Alabama     v.    Bozeman    case   to    Bozeman    is    unpersuasive
   interpreted  the    IAD    to   require    because he was not "returned to [his]
   dismissal of pending charges by the        original place of imprisonment" under
   receiving state when a prisoner is         Article IV(e). In Bozeman, the [*11]
   placed in the custody of the sending       prisoner was serving time in a federal
   state, even in circumstances where a       penitentiary under a federal sentence.
   prisoner's  custody    is    of   short    After his short foray into state court
   duration.                                  and prison pursuant to a detainer,
                                              Bozeman was returned to the same
      In   that   case,    the   prisoner,    federal prison to resume serving his
   Bozeman, was serving time in a federal     original federal sentence. The Supreme
   prison when Alabama indicted him on an     Court has held that this is a clear
   unrelated crime. Bozeman, 533 U.S. at      violation of Article IV(e). n3 In this
   151. Alabama lodged a detainer against     case, Pursley was never returned to
   him and subsequently obtained custody      Colorado    to    resume     serving    his
   over him. The state then transported       original state sentence. Instead, his
   him approximately 80 miles to a county     only trip back into Colorado state
   jail, where he spent the night before      jurisdiction was to answer a third set
   appearing for his arraignment the next     of state charges unrelated to his
   morning. He was returned to federal        original sentence or federal charges.
   prison   that   evening   and   resumed    He   never   was   transferred     to   the
   serving his original sentence.             Colorado Department of Corrections to
                                              begin anew his service of his original
      At the outset, the Supreme Court        state    sentence.     Furthermore,     the
   acknowledged, "Alabama does not deny a     one-day excursion to the Colorado
   violation [*10]   of Article IV(e) as      state courthouse for arraignment was
   literally interpreted, for it concedes     only by chance in Colorado, the state
   that its officials 'returned' Bozeman      of his original imprisonment. If any
   to    his     'original     place   of     other state, such as Wyoming, had
   imprisonment,' before Bozeman's county     asked   the    federal     government    to
   court 'trial' was 'had.'" Id. at 152       provide    Pursley     for     a    one-day
   (emphasis in original). The Court          arraignment          under          similar
   rejected   Alabama's    argument  that     circumstances, we do not see how this
   spending one night in state prison         would have violated the anti-shuttling
   constituted only a "de minimus" or         provision.
   "technical" violation. Id. at 153.
   Rather, the Court reasoned, "every
   prisoner arrival in the receiving                  n3    Pursley's     reliance    on
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 5 of 12

                                                                                   Page 5
                 2007 U.S. App. LEXIS 547, *11; 99 A.F.T.R.2d (RIA) 419



        United States v. Kelley, 300 F.         (10th Cir. 1983). The mere temporary
        Supp. 2d 224 (D. Mass. 2003), is        transfer of a prisoner to a different
        equally   unavailing   considering      jurisdiction to answer pending charges
        the district court in that case         while in the custody of a receiving
        also found the receiving state          state    does    not   implicate    these
        shuttled the defendant back to          concerns so long as it does not
        the   sending   state  to   resume      impermissibly lengthen a prisoner's
        serving   his  original   sentence      stay in the receiving state. n4 Where
        prior to trial being had. Id. at        a transfer is of short duration and
        233. This is not the case here.         does not interrupt trial proceedings
                                                in the receiving state in violation of
    [*12]                                       the IAD's other provisions, as is the
                                                case   here,   a   prisoner   spends   no
       We note that our interpretation is       additional time away from the sending
   supported by the plain language of the       state and, thus, there can be no
   anti-shuttling provision and the IAD's       impact on a prisoner's rehabilitative
   purpose. First, Article IV(e) applies        programs and treatment in the sending
   when the prisoner is "returned . . .         state.    On   the   other   hand,    the
   to the original place of imprisonment        expeditious    resolution   of    untried
   pursuant     to    article    V(e)."   IAD   charges in a different jurisdiction,
   (emphasis      added).     Article    V(e)   such as the third set of Colorado
   provides that, "[a]t the earliest            charges    Pursley   faced,    is   fully
   practical time consonant with the            consistent with the purposes of the
   purposes    of    this    agreement,   the   IAD.
   prisoner shall be returned to the
   sending State." Id. Read together,
   these words suggest that the prisoner                n4 A receiving state must
   must    be  sent    back   to   recommence        commence    trial    on    untried
   serving    his   original    sentence   to        indictments within one hundred
   trigger the anti-shuttling provision.             twenty days from the arrival of
   Under Article V(e), a prisoner should             the prisoner. IAD, Art. IV(c).
   be returned to the sending state to
   resume his original sentence following        [*14]
   the    disposition    of   the   receiving
   state's trial. Article V(e), on its             For these reasons, we conclude that
   face,    does   not    contemplate   other   the IAD's anti-shuttling provision is
   reasons to send a prisoner back to the       not triggered by the circumstances
   sending state.                               presented here. n5

      Second, the purpose of the IAD's
   anti-shuttling     provision    is    to             n5         The         government
   minimize the uncertainties attendant              alternatively argues that Pursley
   with    outstanding     charges    which          waived   his     IAD   argument    by
   interfere     with      a     prisoner's          failing to raise it before the
   rehabilitation and treatment programs             pre-trial motions deadline had
   and to encourage the expeditious and              passed.    Pursley     responds    by
   orderly disposition of such charges.              contending that this issue is
   See IAD, Art. I. As we have said,                 jurisdictional and non-waivable.
   Congress [*13] did not want prisoners             We had not addressed whether
   to "have programs of treatment and                violations of the IAD constitute
   rehabilitation obstructed by numerous             jurisdictional claims on direct
   absences in connection with successive            appeal.   Nevertheless,     we   have
   proceedings related to pending charges            stated,        "Absent        special
   in   another    jurisdiction."    United          circumstances, violations of the
   States v. Wilson, 719 F.2d 1491, 1494             [IAD]   are     not    grounds    for
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 6 of 12

                                                                                     Page 6
                  2007 U.S. App. LEXIS 547, *14; 99 A.F.T.R.2d (RIA) 419



        collateral attack on a federal            F.2d at 857. Where the trial court
        conviction and sentence" because          ultimately   denies  severance,   its
        "rights created by the [IAD] are          decision will be reversed only where
        statutory,     not    fundamental,        the defendant has demonstrated an
        constitutional, or jurisdictional         abuse of discretion. United States v.
        in nature." Greathouse v. United          Hayes, 861 F.2d 1225, 1231 (10th Cir.
        States, 655 F.2d 1032, 1034 (10th         1988).
        Cir.   1981).   Because   we  have
        concluded     the     government's            According to Pursley, his theory of
        conduct did not implicate the IAD         defense at trial was that he never
        in this case, we need not answer          prepared     or     assisted     in    the
        whether    violations    of    its        preparation     of   the   relevant    tax
        provisions may be waived.                 returns. He hoped to persuade the jury
                                                  that (1) although funds were deposited
                                                  in his account and spent, (2) he was
                                                  not aware of how the money arrived,
                                                  (3) he did not have any knowledge of
   B. Trial Severance                             tax returns filed in his name, nor (4)
                                                  was he ever employed by Cimmaron
      Pursley [*15]     next argues the           Farms, the company to which his income
   district court committed reversible            was    attributed     on   the    returns.
   error by failing to grant his motion           Wardell's defense, on the other hand,
   to sever his trial from that of his            was    that    the     tax   forms    were
   co-defendant,   Wendel    Wardell.   He        legitimate--that         Pursley       had
   contends   severance    was   necessary        participated in their preparation, had
   because the two defendants had planned         indeed    been   employed    by   Cimmaron
   to present antagonistic defenses and           Farms, and was properly entitled to
   the joint trial precluded him from             receipt of Earned Income Credit funds.
   fully pursuing his theory of defense.          Thus, while Pursley merely argued no
                                                  crime was committed by him, Wardell
       When    considering    a   motion    for   maintained no crime was committed at
   severance, a trial court engages in a          all.
   three step inquiry. First, it must
   determine       whether    the      defenses      Applying these factors, we conclude
   presented are "so antagonistic that            the district court did not abuse its
   they are mutually exclusive." United           discretion [*17]     in declining to
   States v. Peveto, 881 F.2d 844, 857            sever the trial. Even though Pursley
   (10th Cir. 1989). Second, because              could   establish   that  the   pair's
   "[m]utually antagonistic defenses are          defenses were mutually exclusive, we
   not prejudicial per se," a defendant           find no actual prejudice to Pursley
   must further show "a serious risk that         under the second factor.
   a joint trial would compromise a
   specific trial right . . . or prevent             We are satisfied that Pursley's and
   the    jury    from   making   a    reliable   Wardell's defenses were sufficiently
   judgment about guilt or innocence."            exclusive and antagonistic under the
   Zafiro v. United States, 506 U.S. 534,         first factor. n6 Defenses are mutually
   539, 113 S. Ct. 933, 122 L. Ed. 2d 317         antagonistic if "the conflict between
   (1993).     Third,   if   the    first   two   codefendants' defenses [is] such that
   factors are met, the trial court               the jury, in order to believe the core
   exercises its discretion and "weigh[s]         of   one   defense,  must  necessarily
   the     prejudice     to    a     particular   disbelieve the core of the other."
   defendant caused by joinder against            United States v. Linn, 31 F.3d 987,
   the obviously important considerations         992 (10th Cir. 1994). In other words,
   of economy and expedition [*16]           in   defendants    must  show   that   "the
   judicial administration." Peveto, 881          acceptance of one party's defense
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 7 of 12

                                                                                 Page 7
                2007 U.S. App. LEXIS 547, *17; 99 A.F.T.R.2d (RIA) 419



   would tend to preclude the acquittal        theories and acquitted all of them."
   of the other, or that the guilt of one      See United States v. Linn, 31 F.3d
   defendant    tends    to  establish   the   987, 992 (10th Cir. 1994) (finding no
   innocence of the other." Peveto, 881        mutual antagonism). Accordingly, we
   F.2d    at    857    (holding    mutually   find these defenses are sufficiently
   exclusive defenses where one defendant      antagonistic under the first factor.
   claimed to be preparing to be an
   informant    and    invited   the   other      Nevertheless, Pursley has failed to
   defendant, a purported drug dealer, to      demonstrate prejudice under the second
   his house to gather information, while      factor. To establish prejudice, a
   the other defendant claimed to be           defendant must point to a "specific
   innocently at the house and held            trial    right"     [*19]     that    was
   against    his    will   by   the   first   compromised or show the jury was
   defendant).                                 "prevent[ed] . . . from making a
                                               reliable   judgment    about   guilt   or
                                               innocence." Zafiro, 506 U.S. at 539;
           n6 The district court found         see also United States v. McClure, 734
        that   Pursley's    and  Wardell's     F.2d 484, 488-89 (10th Cir. 1984).
        defenses    were    not   mutually     Pursley   argues   prejudice    must   be
        exclusive. Dist. Order, vol. I,        presumed   because    "[w]hen    mutually
        doc. 643, at 2-3. In doing so, we      exclusive defenses are presented there
        believe that the district court        is a chance that the jury will infer
        conflated   the   first  "mutually     from the conflict the guilt of both
        exclusive" factor and the second       parties." Peveto, 881 F.2d at 857.
        "prejudice" factor. We find that       Pursley contends that, on this basis,
        the district court's analysis is       his defense was less likely to be
        better         placed        under     successful in a joint trial than a
        considerations     of   prejudice,     severed trial and, because of this, he
        rather than on antagonism.             opted not to present certain evidence
                                               at trial.
    [*18]
                                                  We are not persuaded that this
      A jury could not simultaneously          alone will constitute prejudice for
   believe    Pursley's   and    Wardell's     purposes of trial severance. "[I]t is
   theories of defense. Pursley either         well settled that defendants are not
   worked at Cimmaron Farms or he did          entitled to severance merely because
   not. He either participated in the          they may have a better chance of
   preparation and filing of tax returns       acquittal in separate trials." Zafiro,
   or he did not. If the jury believed         506 U.S. at 540 (emphasis added); see
   that Pursley had no knowledge of the        also McClure, 734 F.2d at 488 ("We
   tax refunds and had no part in              have . . . held that severance is not
   Cimmaron    Farms,   then   it    would     required   simply   because   separate
   necessarily    have    to    disbelieve     trials might have offered a better
   Wardell's story that he and Pursley         chance for acquittal to one or more of
   were legitimately entitled to file tax      the accused. [*20] "). Despite their
   refunds based on their employment by        differing theories of defense, nothing
   Cimmaron Farms. Pursley's legitimate        prevented   Pursley  from   presenting
   participation in the Cimmaron Farms         evidence to support his theory even if
   enterprise was a core element of            it was inconsistent with Wardell's
   Wardell's defense theory. Without it,       defense.
   Wardell's    defense    would    simply
   collapse, casting serious doubts on            Second, while Pursley's theory may
   Wardell's claim of innocence. This is       establish prejudice to Wardell, it did
   simply not a case where "the jury           not necessarily prejudice Pursley's
   could have believed all of Defendants'      defense. As the district court noted
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 8 of 12

                                                                                 Page 8
                2007 U.S. App. LEXIS 547, *20; 99 A.F.T.R.2d (RIA) 419



   in denying the severance motion,              the trial court and its decision
                                                 will not ordinarily be reversed
        Both Pursley's and Wardell's             in   the   absence   of   a  strong
        proposed theories of defense             showing of prejudice." Hayes, 861
        tend to exonerate Pursley of             F.2d at 1231 (internal quotations
        wrongdoing. Under Pursley's              omitted).    Particularly   "in   a
        theory, he had no knowledge              conspiracy trial it is preferred
        of or involvement in the                 that persons charged together be
        alleged scheme to defraud                tried together." United States v.
        the   government   by  filing            Ray, 370 F.3d 1039, 1045 (10th
        false   tax   returns.  Under            Cir. 2004). Consequently, "[t]he
        Wardell's theory, the tax                defendant's burden to show an
        returns filed in Pursley's               abuse    of    discretion   is    a
        name were not fraudulent. If             difficult one." Hayes, 861 F.2d
        the   jury   believes  either            at 1231.
        theory,    it   cannot   find
        Pursley guilty of tax fraud.         [*22]

   Dist. Order, vol. I, doc. 643, at 2-3.      In   sum,   the  district  court's
   Pursley's problem in the case was the    decision is supported by the facts of
   lack of evidence to support his theory   this case and, in any event, does not
   of defense, not his misfortune of        warrant a conclusion that it abused
   trial with Wardell.                      its discretion in trying Pursley and
                                            Wardell together.
      We   therefore   agree   with   the
   district court that Pursley cannot       C. Sufficiency of Evidence and         Jury
   demonstrate prejudice from the failure   Instruction on Conspiracy Charge
   to sever the trial.
                                                Pursley next claims that the jury's
      Pursley also argues this court        verdict on the conspiracy count should
   should not defer to the district         be overturned because (1) the evidence
   court's discretion here because it       was    insufficient   to  support   the
   failed to explicitly engage in the       verdict, and (2) the jury instruction
   [*21]      third   step     of    our    on the conspiracy charge misled the
   inquiry--weighing prejudice    to the    jury.
   defendant against considerations of
   judicial economy. Yet, the district          (1) Sufficiency of the Evidence.
   court found no prejudice at all,         Where a defendant claims the evidence
   leaving nothing to balance in this       was    insufficient      to    convict,   we
   step. n7                                 examine the record in the light most
                                            favorable to the government and will
                                            only reverse where, based on the
           n7 Even assuming Pursley could   direct    and   circumstantial      evidence
        successfully          demonstrate   presented      and       all      reasonable
        prejudice, severance would not be   inferences          and          credibility
        compelled because "the tailoring    determinations     drawn     therefrom,   no
        of the relief to be granted, if     reasonable    jury      could     find   the
        any, [is left] to the district      defendant guilty beyond a reasonable
        court's     sound    discretion."   doubt. United States v. Small, 423
        Zafiro, 506 U.S. at 539; see also   F.3d 1164, 1182 (10th Cir. 2005);
        United States v. Scott, 37 F.3d     United States v. Pedraza, 27 F.3d
        1564, 1579-80 (10th Cir. 1994).     1515, 1524 (10th Cir. 1994).
        "The decision to grant severance
        and order separate trials is           To   demonstrate conspiracy,  the
        within the sound discretion of      government must prove "(1) agreement
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 9 of 12

                                                                                     Page 9
                 2007 U.S. App. LEXIS 547, *22; 99 A.F.T.R.2d (RIA) 419



   with another person to violate the            conspiring to file numerous          false
   law; (2) knowledge [*23]            of the    returns involving other inmates.
   essential      objectives        of     the
   conspiracy; (3) knowing and voluntary             Alternatively, Pursley's argument
   involvement; and (4) interdependence          could be that direct evidence showing
   among the alleged co-conspirators."           a connection between himself and each
   United States v. Johnson, 12 F.3d             of the nine inmates listed on the tax
   1540, 1545 (10th Cir. 1993). The              returns      was     necessary     for    a
   charges were based on nineteen tax            conviction. He could be contending
   returns, including three filed in             that such a showing is required for a
   Pursley's name, two filed in Wardell's        reasonable      jury    to    believe   his
   name, and one filed in the name of            involvement in the preparation of the
   Cimmaron     Farms,      the     ostensible   first six tax returns (for which he
   employer    of    Pursley     (at    least,   concedes evidence exists) extended to
   according to his tax returns). The            the    preparation     of   the   remaining
   remaining thirteen returns were filed         thirteen tax returns. Such an argument
   in    the   names     of    nine    inmates   is wrong. It is well established that
   imprisoned at the same jail as Pursley        the government [*25]       need not prove
   and     Wardell.     Pursley      contends,   its case by direct evidence alone.
   although acknowledging the existence          See, e.g., United States v. Young, 954
   of evidence that he had participated          F.2d    614,    618   (10th    Cir.   1992)
   in some of the acts included in the           ("Because     criminal    conspiracies   by
   conspiracy,          the         government   their nature are generally secret,
   nevertheless     did     not    prove    he   often carefully concealed and may even
   "participated in the broad, single            be unarticulated, conspiracy may be
   conspiracy charged in the indictment."        found based solely upon circumstantial
   Aplt. Br. at 8. Instead, he argues the        evidence.").
   government established his connection
   to Wardell but failed to establish any           Here,   the    government   presented
   connection with the remaining inmates.        direct evidence of his participation
   Thus,    he  concludes     he   cannot   be   in the preparation of some of the
   convicted    for    a    conspiracy    that   false tax returns (e.g., arrival of
   includes the filing of all nineteen           funds   in   his    bank  account)   and
   tax returns.                                  circumstantial     evidence    of    his
                                                 participation in the preparation of
      Pursley's argument appears to be           the remaining false tax returns. The
   based on one of two premises, both of         fact    that     some    evidence    was
   which     are     [*24]     false.    One     circumstantial     does   not    bar   a
   possibility     is    that   Pursley   is     reasonable jury from convicting him as
   assuming all individuals whose names          to the conspiracy alleged in the
   were listed on the false tax returns          indictment. Nor would it be necessary
   were    co-conspirators.     Accordingly,     to prove he performed overt acts in
   because the evidence at trial tended          furtherance of each aspect of the
   to show Pursley's association with            conspiracy so long as the government
   Wardell but not with the nine inmates         sufficiently proved that he conspired
   listed on the remaining tax returns,          with Wardell in the tax fraud scheme
   he could be arguing the government            and at least one of them engaged in
   failed to prove his interdependence           one overt act. See United States v.
   with     those      nine     individuals.     Dago, 441 F.3d 1238, 1242 n.1 (10th
   Nevertheless, only Pursley and Wardell        Cir. 2006) (finding that the overt act
   were charged with conspiracy. The flaw        requirement of 18 U.S.C. § 371 is
   here is that the government did not           satisfied by "any act [*26] to effect
   allege a broader conspiracy involving         the object of the conspiracy").
   additional co-conspirators. It only
   charged    Pursley    and  Wardell   with        We,   accordingly,     hold    that   a
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 10 of
                                      12
                                                                                    Page 10
                2007 U.S. App. LEXIS 547, *26; 99 A.F.T.R.2d (RIA) 419



  reasonable   jury could   have  found            At the outset, we note that this
  Pursley guilty of conspiracy beyond a         issue was not raised below. Because
  reasonable doubt.                             this question was not presented to the
                                                district court, we apply a plain error
     (2) Jury Instructions. Pursley also        standard of review. United States v.
  argues the district court erred in            Battle, 289 F.3d 661, 665 (10th Cir.
  failing    to    provide     proper    jury   2002). Plain error "occurs when there
  instructions      on    conspiracy.      He   is (1) error, (2) that is plain, which
  contends     the     instructions      were   (3) affects substantial rights, and
  confusing    because    they    failed   to   which   (4)   seriously   affects   the
  distinguish between the portion of the        fairness,    integrity,    or    public
  charged conspiracy upon which the             reputation of judicial proceedings."
  government      had    direct      evidence   United States v. Lopez-Flores, 444
  (preparation of tax returns listing           F.3d 1218, 1222 (10th Cir. 2006).
  the names and affiliates of Pursley
  and Wardell) and the remainder of the             Pursley's argument fails the first
  conspiracy upon which the government          step    because     the   district     court
  had only circumstantial evidence (the         committed     no     error.     [*28]     In
  remaining tax returns listing the             reviewing a double jeopardy claim, the
  names   of    additional    inmates).    We   case law is clear, "[W]here the same
  perceive no incongruence between the          act    or   transaction     constitutes    a
  charged     and     proven      conspiracy.   violation of two distinct statutory
  Likewise, we find no instruction is           provisions, the test to be applied
  necessary     to     parse     whether    a   [for double jeopardy purposes] is
  particular allegation is supported by         whether each provision requires proof
  direct or circumstantial evidence.            of an additional fact which the other
                                                does    not."    Blockburger     v.   United
     In sum, the evidence presented at          States, 284 U.S. 299, 304, 52 S. Ct.
  trial was sufficient to support the           180, 76 L. Ed. 306 (1932); United
  jury's conviction, and the jury was           States v. Malone, 222 F.3d 1286, 1293
  properly instructed by the district           (10th Cir. 2000). When each offense
  court.                                        requires proof of a fact not essential
                                                to the other, the charges are not
  D. Double Jeopardy                            identical and the accused can be
                                                charged, tried and convicted of both
     Finally, Pursley argues that his           offenses even though the charges arise
  sentence   is   unlawful   because   the      out of the same acts. Goldsmith v.
  district court violated [*27]        the      Cheney, 447 F.2d 624, 627 (10th Cir.
  Double Jeopardy Clause of the Fifth           1971). Consequently, we look to the
  Amendment   by   imposing    consecutive      elements of the two crimes for which
  sentences on offenses that were proven        Pursley was convicted to determine
  by identical facts. The Constitution          whether a double jeopardy violation
  provides that no person shall "be             exists.
  subject to the same offense to be
  twice put in jeopardy of life or                 Conspiracy and aiding and abetting
  limb." U.S. CONST., amend. V. Pursley         a crime are different criminal acts.
  contends   that    the   same   evidence      Goldsmith, 447 F.2d at 628 (finding no
  supports   his   convictions   (1)   for      double    jeopardy     violation  after
  conspiracy, and (2) for aiding and            prosecutions for both offenses). It is
  abetting the preparation of false tax         "well settled that commission of a
  returns and, therefore, concludes that        substantive offense and a conspiracy
  "there is no practical or substantive         to commit [*29]       it are separate
  distinction" between the two crimes in        crimes   because   the   essence of   a
  this case. Aplt. Br. at 26-27.                conspiracy charge is an agreement to
                                                commit a substantive offense." United
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 11 of
                                      12
                                                                            Page 11
               2007 U.S. App. LEXIS 547, *29; 99 A.F.T.R.2d (RIA) 419



  States v. Johnson, 977 F.2d 1360, 1371    tax fraud, the convictions for aiding
  (10th Cir. 1992) (internal quotations     and   abetting  do   not   necessarily
  omitted). Pursley was charged with        require agreement. The convictions,
  conspiracy to commit tax fraud which      therefore, do not run afoul of double
  requires "a conspiracy, agreement, or     jeopardy.
  understanding to violate the law. . .
  by two or more persons[.]" Instruction
  No. 19, vol. I, doc. 676. Thus, the              n8 The entire jury instruction
  crime of conspiracy is completed when         read,
  an agreement has been made and an
  overt act to further the unlawful                  In order to sustain its
  design has been performed. Goldsmith,              burden of proof for the
  447 F.2d at 628. The substantive                   crime   of   aiding   and
  offense of aiding and abetting, in                 abetting              the
  contrast, requires no agreement to                 preparation            or
  commit the unlawful act. "The epitome              presentation of false
  of an accessory charge is to aid,                  tax    returns    against
  counsel, or assist another in the                  defendant    PURSLEY   as
  commission of a criminal act; it does              charged in Counts 5 and
  not   depend  upon   an  agreement   or            6 of the indictment, .
  conspiracy to perform that act." Id.               . . the government must
                                                     prove each and all of
     Pursley nonetheless contends that a             the following five (5)
  conviction for aiding and abetting in              essential        elements
  this case necessarily requires an                  beyond    a    reasonable
  agreement.    That     contention    is            doubt:
  incorrect. The elements of aiding and
  abetting require that Pursley "aided               (1)    That    defendant
  in, assisted in, procured, counseled,              PURSLEY     aided      in,
  or advised" in the filing [*30]      of            assisted in, procured,
  tax returns; that the return falsely               counseled, or advised
  stated material information; and that              the    preparation      or
  Pursley knew of the falsity and acted              presentation      of     a
  willfully. See Instruction No. 31,                 return as described in
  vol. I, doc. 676. n8 None of these                 the indictment . . . in
  elements demand proof that he entered              connection    with     any
  into a knowing agreement with others               matter   arising     under
  to commit the crime. In this case, the             the   internal    revenue
  jury was instructed that, "It is not               laws; and
  necessary that the government prove
  that the falsity or fraud [involving               (2) That this return
  the tax return] was with the knowledge             falsely           stated
  or consent of the person authorized or             information           as
  required to present such return." Id.              described     in     the
  This is consistent with our case law               indictment, . . .; and
  stating that an agreement is not an
  element of the crime of aiding and                 (3)    That    defendant
  abetting. See, e.g., Pereira v. United             PURSLEY knew that one
  States, 347 U.S. 1, 11, 74 S. Ct. 358,             or    more    of     the
  98   L.  Ed.   435   (1954)   ("Aiding,            statements    in     the
  abetting and counseling are not terms              return was false; and
  which presuppose the existence of an
  agreement."); Goldsmith, 447 F.2d at               (4)   That  the   false
  628. While Pursley and Wardell may                 statement was material;
  have acted in concert in committing                and
Case 1:05-cv-02533-EWN-MJW Document 84-5 Filed 02/15/07 USDC Colorado Page 12 of
                                      12
                                                                         Page 12
              2007 U.S. App. LEXIS 547, *30; 99 A.F.T.R.2d (RIA) 419



                                           [*31]
           (5)    That   defendant
           PURSLEY           acted           In   sum,  even   though  Pursley's
           willfully.                     multiple convictions arose from the
                                          same criminal course of action, each
           It   is   not  necessary       crime required proof of a fact not
           that    the   government       required to convict for the other
           prove that the falsity         crime. Accordingly, we find no error
           or fraud was with the          in the district court's order of
           knowledge or consent of        consecutive    sentences    for    the
           the person authorized          different crimes.
           or required to present
           such return.                      IV. Conclusion

       Instruction No. 31, vol. I, doc.      For    the   foregoing     reasons,
       676.                               Pursley's convictions and    sentences
                                          are AFFIRMED.
